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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK


VIRGINIA L. GIUFFRE,

               Plaintiff,                                         Case No.: 21-cv-6702

v.                                                                ORDER FOR ADMISSION
                                                                  PRO HAC VICE
PRINCE ANDREW, DUKE OF YORK,
a/k/a ANDREW ALBERT CHRISTIAN
EDWARD, in his personal capacity,

            Defendant.
________________________________/


       The motion of Sigrid S. McCawley, for admission to practice Pro Hac Vice in the above

captioned action is granted.

       Applicant has declared that she is a member in good standing of the bars of the State of

Florida and the District of Columbia; and that her contact information is as follows:

       Applicant’s Name: Sigrid S. McCawley

       Firm Name: Boies Schiller Flexner LLP

       Address: 401 E. Las Olas Boulevard, Suite 1200

       City/State/Zip: Fort Lauderdale, FL 33301

       Telephone/Fax: Tel: (954) 356-0011 / Fax: (954) 356-0022

       Email: smccawley@bsfllp.com

       Applicant having requested admission Pro Hac Vice to appear for all purposes as counsel

for Plaintiff Virginia L. Giuffre in the above entitled action;

       IT IS HEREBY ORDERED that Applicant is admitted to practice Pro Hac Vice in the

above captioned case in the United States District Court for the Southern District of New York.

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         Case
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All attorneys appearing before this Court are subject to the Local Rules of this Court, including

the Rules governing discipline of attorneys.




        08/11/2021
Dated: __________________________                   /s/ Lewis A. Kaplan /BT
                                                    _____________________________
                                                    United States District Judge




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